






						NO. 12-08-00461-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


RUSSELL WAYNE PUGH,§
		APPEAL FROM THE 114TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM



	Appellant pleaded guilty to possession of four grams or more but less than two hundred
grams of methamphetamine with intent to deliver.  The trial court sentenced Appellant to
imprisonment for thirty years.  We have received the trial court's certification showing that
Appellant waived his right to appeal.  See Tex. R. App. P. 25.2(d).  The certification is signed by
Appellant and his counsel.  The clerk's record supports the trial court's certification.  See Greenwell
v. Thirteenth Court of Appeals, 159 S.W.3d 645, 649 (Tex. Crim. App. 2005); Dears v. State, 154
S.W.3d 610, 614-15 (Tex. Crim. App. 2005).  Accordingly, the appeal is dismissed for want of
jurisdiction.

	Opinion delivered December 3, 2008.

	Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




(DO NOT PUBLISH)


